Case 1:19-cr-20706-UU Document 9 Entered on FLSD Docket 11/12/2019 Page 1 of 1




                           UN ITED STAT ES D ISTR IC T CO UR T
                           SO UTH ERN D ISTR ICT O F FLO R ID A

                                 CA SE N O .18-CR -20706-U U

  UN ITED STA TES O F A M ER ICA

 V S.

  AL VA R O ESTU A RD O CO BA R BUSTA M AN TE




        The U nited States ofA m erica,having applied to this Courtfor an Orderunsealing certain

 the docketand allentrieson the docket,and the Coul'tfinding good cause:

        IT IS HEREBY O RD ERED thatthe docketand allentries on the docket,as wellasthis

 order,be UN SEA LED .

        D ON E AN D OR DER ED in cham bersatM iam i,       '    his th      ofN ovem ber, 2019.


                                                   HO N .E    G .TO RRES
                                                   UN IT SIW TE M A GISTR ATE JUD G E
                                                   SO U HERN D ISTRICT O F FLORIDA
